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7
8                      IN THE UNITED STATES DISTRICT COURT
9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     )           CR. No. S 07-571 GEB
                                   )
12                  Plaintiff,     )           STIPULATION AND ORDER
                                   )
13             v.                  )
                                   )
14   ERIC BROOKS,                  )
                                   )           Date: September 4, 2009
15                  Defendant.     )           Time: 9:00 a.m.
     ______________________________)           Hon. Garland E. Burrell, Jr.
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          It is hereby stipulated by and between the United States of
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     America through its attorneys, and defendant Eric Brooks and his
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     attorney, that the status conference hearing set for July 31, 2009,
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     be vacated, and a status conference hearing be set for September 4,
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     2009 at 9:00 a.m.
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          Mr. Brooks is also a defendant in case no. CR S 08-122 GEB,
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     which is pending before this Court.       The charges against Mr. Brooks
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     in case 08-122 carry considerably greater exposure for him than
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     those in the instant case.     Today, the parties have requested that
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     case 08-122 be continued to September 4, 2009, so that they may
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     further evaluate that case and seek its resolution.          Both parties
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     agree that resolution of case 08-122 will make it much more likely

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1    that this case will resolve as well.          The parties request that
2    speedy trial time be excluded from the date of this order through
3    the date of the status conference hearing set for September 4, 2009,
4    pursuant to 18 U.S.C. §3161(h)(8)(B)(iv) [reasonable time to
5    prepare] (Local Code T4).
6
     DATED: July 29, 2009                  /s/ Philip Ferrari for
7                                         DWIGHT SAMUEL, ESQ.
                                          Attny. for Eric Brooks
8
9    DATED: July 29, 2009                 LAWRENCE G. BROWN
                                          United States Attorney
10
11
                                     By: /s/ Philip Ferrari
12                                       PHILIP A. FERRARI
                                         Assistant U.S. Attorney
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14
15        IT IS SO ORDERED.
16
     Dated:     August 4, 2009
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                                        GARLAND E. BURRELL, JR.
19                                      United States District Judge

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